                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE



ALLIED WORLD NATIONAL
ASSURANCE COMPANY

                Plaintiff,

          v.                                            Civil Action No. 16-710 CFC

JAMES R. BOLCH, PHILLIP DAMASKA, ED
MOPAS, JOHN HOGARTH, R. PAUL HIRT,
JR., EXIDE TECHNOLOGIES, and CRAIG
JALBERT, IN HIS CAPACITY AS TRUSTEE
OF THE VERNON TORT CLAIMS TRUST,

                Defendants.


                              PARTIES’ JOINT STATUS REPORT
                Pursuant to the Court's Order of September 20, 2018, the parties hereby provide

this Joint Status Report and advise the Court as follows:

                This is a declaratory judgment action, in which plaintiff Allied World National

Assurance Company (“Allied World”) alleges and seeks a declaration that it owes no coverage to

five current or former directors of Exide Technologies (“Exide”) under a Side A Directors' &

Officers' (“D&O”) insurance policy. The five directors have asserted claims for coverage under

the relevant D&O policy in connection with certain civil actions pending in California.

                The defendants in this action are the five individual Exide directors; Exide itself;

and Craig Jalbert, in his capacity as Trustee to the Vernon Tort Claims Trust (the “Trustee”). The

Trustee has not consented to the jurisdiction of this Court with respect to this action, has not

consented to the sufficiency of Allied World’s purported service of process, and has reserved all

rights and defenses with respect to this action, including, without limitation, the following

defenses: (i) lack of subject-matter jurisdiction; (ii) lack of personal jurisdiction; (iii) improper
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venue; (iv) forum non conveniens; (v) insufficient process; (vi) insufficient service of process;

(vii) failure to state a claim upon which relief can be granted; and (viii) failure to join a party

under Fed R. Civ. P. 19. The directors and Exide reserve their rights with respect to all potential

defenses, except insufficient service of process.

                On November 16, 2016, the parties entered into and submitted to the Court a

stipulation pursuant to which the parties stated their belief that mediation may achieve a

consensual resolution to this action, and agreed to toll certain deadlines in this action (including,

without limitation, the defendants’ deadlines to answer, move, or otherwise respond to Allied

World’s complaint) to facilitate such mediation. [D.I. 9.] On November 17, 2016, the Court

entered its order approving the stipulation, and ordered the parties to select a mediator within 30

days. [D.I. 10] The parties timely selected mediator Timothy V.P. Gallagher of The Gallagher

Law Group in Los Angeles. All parties to this action participated in several mediation sessions.

In addition, two other Side A D&O insurers, AIG and Chubb, while not parties to this action,

participated in the mediation process.

                As a result of the mediation process, Allied World, the Trustee, and the five

director defendants have reached a confidential settlement resolving, among other things, Allied

World’s coverage obligations under its D&O policy. The Parties documented the confidential

settlement agreement effective as of September 24, 2018. A motion for determination that the

settlement agreement was reached in good faith will be filed on or before November 6, 2018 in

the California civil actions. A finding of good faith settlement by the California court triggers,

among other things, an obligation to dismiss this lawsuit.

                The Parties are prepared to appear before the Court in person or by telephone to

address the status of this action in further detail.

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Respectfully submitted,



                                               /s/ James E. O’Neill
/s/ Scott J. Leonhardt                         PACHULSKI STANG ZIEHL & JONES LLP
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Delaware Counsel to Craig Jalbert,             Counsel to James R. Bolch, Phillip Damaska,
In his Capacity as Trustee of the              Ed Mopas, John Hogarth, R. Paul Hirt, Jr., and
Vernon Tort Claims Trust                       Exide Technologies


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Date: October 4, 2018




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